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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                      CASE NO.: ________________________________

  LARKIN EMERGENCY PHYSICIANS, LLC, a
  Florida Corporation (o/b/o Member #
  W236761343),

                Plaintiff,

  v.

  AETNA LIFE INSURANCE COMPANY, a
  Foreign Corporation,

                Defendant.
                                                   /

                  DEFENDANT AETNA LIFE INSURANCE COMPANY’S
                      NOTICE OF REMOVAL OF CIVIL ACTION

        Defendant Aetna Life Insurance Company (“Aetna”) files this Notice of Removal of Civil

 Action brought by Plaintiff Larkin Emergency Physicians, LLC o/b/o Member # W236761343

 (“Plaintiff”) to the United States District Court, Southern District of Florida, Miami Division,

 pursuant to 28 U.S.C. §§ 1331 and 1446. The grounds in support of this Notice of Removal are as

 follows:

                                     I.     INTRODUCTION

        1.     Plaintiff’s Complaint seeks reversal of Aetna’s denial of at least a portion of

 Plaintiff’s claims for reimbursement for medical services that Plaintiff allegedly provided to

 members of employer-sponsored benefit plans governed by the Employee Retirement Income

 Security Act of 1974, as amended (“ERISA”), 29 U.S.C. § 1001 et seq.

        2.     Plaintiff alleges that it submitted these claims as an assignee of the coverage

 benefits afforded to Aetna’s members under the applicable plans, including the ERISA plans.
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        3.      Accordingly, Plaintiff’s Complaint is subject to complete preemption by ERISA,

 and it thus presents a federal question over which this Court has original jurisdiction under the

 provisions of 28 U.S.C. § 1331. Removal of this case is therefore proper.

                                 II.      THE STATE COURT ACTION

        4.      Plaintiff filed a civil action against Aetna on or about May 17, 2021, in the 11th

 Judicial Circuit in and for Miami-Dade County, Florida, under Case No. 2021-017504-SP-23 (the

 “State Court Action”). This Notice is properly filed in the Miami Division of the Southern District

 of Florida because it is the district and division within which this action is pending. See 28 U.S.C.

 § 1446(a). True and correct copies of all materials listed in 28 U.S.C. § 1446(a) and Local Rule

 7.2 are attached as Composite Exhibit 1.

        5.      Promptly after this notice, Aetna will file a notice of removal in the State Court

 Action. A true and correct copy of the Notice being filed with the 11th Judicial Circuit, in and for

 Miami-Dade County, Florida, is attached as Exhibit 2.

                                   III.    THIS NOTICE IS TIMELY

        6.      Plaintiff served Florida’s Chief Financial Officer with the Summons and Complaint

 in this matter on June 10, 2021. The Chief Financial Officer forwarded the Summons and

 Complaint on July 2, 2021, which was the first date on which Aetna received a copy of the initial

 pleading setting forth the claim for relief upon which Plaintiff’s action is based. This Notice of

 Removal of Civil Action is therefore timely pursuant to 28 U.S.C. § 1446(b)(1).

             IV.     ERISA COMPLETE PREEMPTION RAISES A FEDERAL QUESTION

        7.      Plaintiff’s Complaint necessarily raises a federal question because Plaintiff’s

 alleged state law claims are subject to complete preemption under ERISA. Therefore, the State




                                             Fox Rothschild LLP
                            Attorney for Defendant Aetna Life Insurance Company
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 Court Action may be removed to this Court because it arises under the laws of the United States.

 See 28 U.S.C. §§ 1331, 1441(a).

        8.      In Count I of its Complaint, Plaintiff seeks recovery for what it contends was an

 underpayment relative to the “aggregate sum” billed to Aetna for services it allegedly provided to

 a member of a health plan associated with Aetna. See, e.g., Compl., ¶¶ 34 –52 (Count I); see also

 Compl., ¶¶ 27–28.

        9.      Aetna’s review of the claims materials referenced in and, by necessity, incorporated

 into the Complaint confirm that the “aggregate” underpayment about which Plaintiff complains is

 the result of a coverage denial for at least one of the services Plaintiff included in its submission

 for reimbursement. See Declaration of John Privet (“Privet Dec.”), which is attached in support of

 this notice of removal as Exhibit 3, at ¶¶ 7–8.

        10.     Plaintiff also alleges that the subject patients “executed a written assignment of

 benefits assigning to Plaintiff certain benefits payable pursuant to the Policy and also authorizing

 direct payment to Plaintiff of any insurance benefits otherwise payable” as part of its effort to

 recover damages for alleged breach of contract as a purported assignee and/or third-party

 beneficiary under these health benefit plans. 1 Id. at Compl. ¶ 39; see also id. at Compl. ¶ 34–52

 (Count I).

        11.     Aetna’s initial review of the Complaint, including the plan referenced and

 incorporated therein, also confirms that the plan Plaintiff put at issue was established by employers

 to furnish medical benefits plans for their employees and are therefore “employee welfare benefit

 plans” within the meaning of ERISA. See Privet Dec., ¶ 9.


         1.     Plaintiff appears to improperly comingle two different causes of action into a single
 count. Aetna reserves the right to address these and other issues as part of an appropriate motion
 or affirmative defense.
                                             Fox Rothschild LLP
                            Attorney for Defendant Aetna Life Insurance Company
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        12.     Removal of the State Court Action is therefore proper because Plaintiff’s Complaint

 is subject to complete ERISA preemption. See Gables Ins. Recovery, Inc. v. Blue Cross and Blue

 Shield of Fla., Inc., 110 F. Supp. 3d 1259, 1264-66 (S.D. Fla. 2015), aff'd, 813 F. 3d 1333 (11th

 Cir. 2015).

        13.     “The Supreme Court has set forth a two part test to determine whether a plaintiff’s

 claims are completely preempted by ERISA.” Id. at 16 (citing Aetna Health Inc. v. Davila, 542

 U.S. 200, 209–211 (2004)). Claims are completely preempted if: (1) the plaintiff could have

 brought the claim under ERISA’s civil enforcement provision, § 502(a); 2 and (2) there is no other

 legal duty independent of ERISA or the plan’s terms that is implicated by a defendant’s actions.

 See id. (citing Conn. State Dental Ass’n v. Anthem Health Plans, Inc., 591 F.3d 1337, 1343 (11th

 Cir. 2009)). Both prongs are met here.

        14.     First, Plaintiff could have brought its claims under § 502(a) because Plaintiff is a

 provider attempting to recover benefits that were denied under employer-sponsored healthcare

 plans pursuant to written assignments of benefits it obtained from Aetna’s members. See Compl.,

 ¶ 27–28 (seeking recovery resulting from an aggregate underpayment); Compl., ¶ 29 (“Member

 executed a written assignment of benefits assigning to Plaintiff certain benefits payable pursuant

 to the Policy and also authorizing direct payment to Plaintiff of any insurance benefits otherwise

 payable to or on behalf of Member.”); see also Compl., ¶¶ 34-52 (Count 1: seeking damages for

 Aetna’s purported failure to pay benefits as purported assignee of members’ benefits under plans);

 see also Privet Dec., ¶ 8 (“[T]he aggregate amount billed by Larkin was not paid, at least in part,

 because one or more of the services Larkin submitted for reimbursement were not covered under

 [the ERISA] health benefit plan.”); see also Privet Dec., ¶ 9.


        2.      See 29 U.S.C. § 1132(a).
                                            Fox Rothschild LLP
                           Attorney for Defendant Aetna Life Insurance Company
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        15.     Second, because Plaintiff is expressly suing under obligations purportedly

 incorporated into the plans themselves, 3 there is no other legal duty independent of ERISA or the

 plan’s terms that is implicated by a defendant’s actions. See Comp. Ex. 1 at Compl., ¶¶ 34-52

 (expressly seeking recovery as an assignee of the plan arising from Aetna’s alleged breach of the

 plans’ terms). Plaintiff’s claims in this lawsuit are therefore not based on any duty independent of

 ERISA or the ERISA plans’ respective terms. See Gables Ins. Recovery, Inc., 110 F. Supp. 3d at

 1266 (citations and internal quotation marks omitted) (“If the right to payment derives from the

 ERISA benefit plan as opposed to another independent obligation, the resolution of a right to

 payment dispute requires an interpretation of the plan. . . . Thus, any determination of benefits

 under the terms of an ERISA plan, even regarding a seeming independent breach of oral or implied

 contract based on verification of those benefits, falls under ERISA and is a legal duty dependent

 on, not independent of, the ERISA plan.”).

        16.     Because both prongs of the Supreme Court’s test announced in Davila are met,

 Plaintiff’s Complaint is subject to complete preemption by ERISA. See Gables Ins. Recovery, Inc.,

 110 F. Supp. 3d at 1266.

        17.     Removal of this action is therefore proper pursuant to 28 U.S.C. § 1441(a). See id.

 at 1263-64.

                                         V.      CONCLUSION

        18.     In light of the above, ERISA provides this Court with federal question jurisdiction

 under the doctrine of complete preemption, and removal is therefore proper.


         3.      Aetna disputes that any of the statutory obligations under either Fla. Stat. §
 627.64194 or Fla. Stat. § 641.513 are incorporated into the ERISA or any health benefit plan.
 Aetna reserves the right to challenge these allegations in an appropriate motion or as part of its
 affirmative defenses. For now, however, Plaintiff’s claim is removeable based on the allegations
 on the face of the complaint.
                                             Fox Rothschild LLP
                            Attorney for Defendant Aetna Life Insurance Company
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 Dated: July 9, 2021                            Respectfully submitted,
        West Palm Beach, FL

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                                                Attorney for Defendant Aetna Life Insurance
                                                Company




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 9, 2021, the foregoing document was electronically

 filed and served on all counsel of record identified in the Service List below via E-Mail.



                                                        s/ David J. DePiano
                                                        DAVID J. DePIANO, ESQ.




                                            Fox Rothschild LLP
                           Attorney for Defendant Aetna Life Insurance Company
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                                       SERVICE LIST

              Larkin Emergency Physicians, LLC (o/b/o Member W#236761343)
                              v. Aetna Life Insurance Company
                            Case No.: _____________________
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